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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

DERRICK SIMS,                                  :
                                               :
                        Plaintiff,             :
                                               :
         v.                                    : Case No. 1:20-cv-01243- (CJN)
                                               :
                                               :
WASHINGTON METROPOLITAN                        :
AREA TRANSIT AUTHORITY                         :
                                               :
                  Defendant.                   :
________________________________               :

  DEFENDANT WASHINGTON METROPOLITAN AREA TRANSIT AUTHORITY’S
                MOTION FOR SUMMARY JUDGMENT

         Pursuant to Fed. R. Civ. P. 56 and the entire record of the case, the Defendant

Washington Metropolitan Area Transit Authority (WMATA) hereby moves this Court for

summary judgment. In support of this motion, the Defendant submits the attached Memorandum

of Points and Authorities, Statement of Material Facts Not in Dispute, Exhibits, and proposed

Order.

         WMATA is entitled to summary judgement in its favor on Count I (Race

Discrimination/Disparate Treatment Under Title VII) because Plaintiff cannot show that

WMATA’s nondiscriminatory reason for terminating Plaintiff’s employment, namely his

violation of WMATA’s Electronic Device Policy, was pretext.

         WMATA is also entitled to summary judgment on Plaintiff’s remaining counts (Count II:

Wrongful Termination) and Counts III and IV (Negligent Termination) because WMATA’s

employment decisions are immune from suit. Burkhart v. WMATA, 112 F.3d 1207, 1216 (D.C.

Cir. 1997); Beebe v. WMATA, 129 F.3d 1283, 1287 (D.C. Cir. 1997).
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                                                     Respectfully submitted,

                                                     WASHINGTON METROPOLITAN
                                                     AREA TRANSIT AUTHORITY


                                                     /s/ Michael K. Guss
                                                     Michael K. Guss #465171
                                                     Senior Counsel
                                                     WMATA-COUN
                                                     600 Fifth Street, N.W.
                                                     Washington, D.C. 20001
                                                     (202) 962-1468




                                 CERTIFICATE OF SERVICE

       I certify that, on this 21st day of January 2022, a copy of the foregoing Defendant’s

Motion for Summary Judgment, supporting Memorandum of Law and Points and Authorities,

Statement of Material Facts Not in Dispute, Affidavit, Exhibits and proposed Order was

electronically transmitted to:

Charles Tucker
Tucker Moore Group, LLP
8181 Professional Place, Suite 117
Hyattsville, MD. 20785


                                                     /s/ Michael K. Guss
                                                     Michael K. Guss
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

DERRICK SIMS,                                 :
                                              :
                       Plaintiff,             :
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       v.                                     : Case No. 1:20-cv-01243- (CJN)
                                              :
                                              :
WASHINGTON METROPOLITAN                       :
AREA TRANSIT AUTHORITY                        :
                                              :
                  Defendant.                  :
________________________________              :

 DEFENDANTS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
              THEIR MOTION FOR SUMMARY JUDGMENT


                                        Statement of Facts

       Plaintiff Derrick Sims is a former WMATA Bus Mechanic who was terminated on

September 6, 2019 after an investigation confirmed his violation of WMATA Policy Instruction

(“P/I”) 10:3/4: Electronic Device Policy (“Electronic Device Policy) by using his personal

cellphone while operating a WMATA Metrobus on September 3, 2019. (S.M.F. ¶¶ 1-3).

       Plaintiff was operating WMATA Metrobus #7396, driving southbound on DC Route 295,

when he was observed by WMATA Transit Field Supervisor Samuel Laughery smoking a lit

cigarette and using his cellphone. (Dkt. 14-4: Laughery Email, Subject: Bus 7396 Mechanic

Derrick Sims); (Laughery Dep. 30:11-32:7, Mar. 10, 2021); (Dkt. 15-5: Derrick Sims Written

Statement). Video of the incident confirmed Laughery’s observations and Plaintiff was

subsequently terminated. (Dkt. 15-12: Video of Incident).

       WMATA’s Electronic Device Policy is a “zero tolerance” policy when the WMATA

vehicle operated is a revenue vehicle, meaning, that the first offense for violating the policy when
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operating a revenue vehicle is automatic discharge of employment. (S.M.F. ¶¶ 6-7), (Dkt. 15-2:

P/I 10.3/4) (Dkt. 15-7: Rule 30(b)(6) Deposition of Joshua L. Greenfield) (Greenfield Dep. 22:8 –

23:8, July 17, 2021). The policy states that a WMATA Metrobus is always considered a revenue

vehicle, “whether in revenue service or not.” (S.M.F. ¶ 4); (Greenfield Dep. 33:20- 34:21);

(Laughery Dep. 18:11-19:1).

       Plaintiff alleges that his termination for violating the Electronic Device Policy is pretext

for racial discrimination because a white coworker by the name of Brett Miller was given a 20-

day suspension for leaving the scene of an accident and making false statements, which is a

different work rule then the Electronic Device Policy. Mr. Miller, in lieu of taking the suspension,

later retired. Considering the video, Plaintiff also claims that he did not “use” his cellphone in

violation of the policy.



                                             Argument

       WMATA Is Entitled to Summary Judgment in its Favor on Count I (Racial
       Discrimination Under Title VII) Because Plaintiff Was Terminated for A Legitimate
       Non-Discriminatory Reason


       WMATA is entitled to summary judgment in its favor on Count I (Race Discrimination

Under Title VII) because he was terminated for a legitimate, non-discriminatory reason— namely

his violation of WMATA’s Zero Tolerance Electronic Device Policy. In addition, Plaintiff lacks

comparative evidence to show pretext because the white co-worker he attempts to proffer as a

comparator was disciplined for a completely different work rule that allows a level of discretion

for discipline, unlike the Electronic Device Policy violated by Plaintiff.

       It is unlawful under Title VII of the Civil Rights Act “to discriminate on the basis of …

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race or national origin.” See 42 U.S.C. § 2000e-2 (a) (1). The two essential elements of a racial

and/or national origin discrimination claim are (1) that the plaintiff suffered an adverse

employment action (2) because of the plaintiff’s race and/or national origin. Brady v. Office of

Sergeant of Arms, 520 F.3d 490, 493 (D.C. Cir. 2008); Baloch v. Kempthorne, 550 F.3d 1191,

1196 (D.C. Cir. 2008).

        “An employee suffers an adverse employment action if he experiences materially adverse

consequences affecting the terms, conditions, or future employment opportunities such that a

reasonable trier of fact could find objectively tangible harm.” Brown v. Brady, 199 F.3d 446, 457

(D.C. Cir. 1999); Forkkio v. Powell, 306 F.3d 1127, 1131 (D.C. Cir. 2002). Purely subjective

injuries are not adverse employment actions. Forkkio, 306 F.3d at 1131. National origin “on its

face refers to the country where a person was born, or, more broadly, the country from which his

or her ancestors came.” Espinoza v. Farah Mfg. Co., 414 U.S. 86, 88 (1973).

       Plaintiff must also prove causation, meaning he must show “that the motive to

discriminate was one of the employer’s motives, even if the employer also had other, lawful

motives that were causative in the employer’s decision.” Univ. of Tex. Sw. Med. Ctr. v. Nassar,

570 U.S. 343 (2013). A claimant can prove prohibited discrimination either through direct or

indirect evidence that the legitimate, non-discriminatory reason offered by her employer is

pretext. McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802-05 (1973); see also Jackson v.

Gonzales, 496 F.3d 703, 706 (D.C. Cir. 2007). When there is no direct evidence of discrimination,

as is the case here, courts must turn to the burden-shifting framework of McDonnell Douglas,

keeping in mind that the burden of persuasion remains with the plaintiff always. Warner v. Vance-

Cooks, 956 F. Supp. 2d 129, 149 (D.D.C. 2013).

       Once the employer asserts a legitimate, non-discriminatory reason for the actions taken
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against the claimant, the D.C. Circuit instructs the district court at the summary judgment phase to

ignore whether plaintiff has actually made out a prima facie case under McDonnell Douglas, but

instead resolve one central question: “Has the employee produced sufficient evidence for a

reasonable jury to find that the employer’s asserted non-discriminatory reason was not the

actual reason and that the employer intentionally discriminated against the employee on the

basis of … race …?” See Brady v. Office of Sgt. at Arms, U.S. House of Reps.,520 F.3d 490, 494

(D.C. Cir. 2008) (emphasis added). In resolving this “central question,” the court looks to “(1) the

plaintiff’s prima facie case; (2) any evidence the plaintiff presents to attack employer’s proffered

explanation for its actions; and (3) any further evidence of discrimination that may be available to

the plaintiff … or any contrary evidence available to the employer ….” See Wheeler v.

Georgetown University Hosp., 812 F.3d 1109, 1114 (D.C. Cir. 2016) (quoting Aka v. Wash. Hosp.

Ctr., 156 F.3d 1284, 1289 (D.C. Cir. 1998)). “While the plaintiff need not ‘submit evidence over

and above rebutting the employer’s stated explanation to avoid summary judgment,’ the plaintiff

must do more than merely state a disagreement with, or disbelief of, the explanation to satisfy the

burden of showing that a reasonable jury could find that the employer’s asserted reason” was

pretext. See Warner v. Vance-Cooks, 956 F. Supp. 2d 129, 150 (D.D.C. 2013); see also Fatemi v.

White, 775 F.3d 1022, 1041 (8th Cir. 2015) (A “bare assertion and speculation as to [an

employer’s] motive does not create a genuine issue of material fact.”).

       A claimant can prove discriminatory intent either by direct or indirect evidence. See

Holbrook v. Reno, 196 F.3d 255, 260 (D.C. Cir. 1999). In this case, Plaintiff has not alleged any

direct evidence of discrimination, but alleges that his termination was evidence of discrimination

because Brett Miller (“Miller”), a white coworker, was recommended for a lessor level of

discipline than Plaintiff. In order to present proper comparator evidence, Plaintiff “must
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demonstrate (1) that he is a member of a protected class; (2) that he was similarly situated to an

employee who is not a member of the protected class; and (3) that he and the similarly situated

person was treated disparately.” Holbrook at 261.

       In this case, Plaintiff must show that he and Miller were charged with offenses of

“comparable seriousness.” See Holebrook at 261 (citing Lynn v. Deaconess Med. Ctr.-West, 160

F.3d 484, 488 (8th Cir. 1998)). Plaintiff must also show that “all of the relevant aspects of his

employment situation were ‘nearly identical’ to Miller’s. Id.; see also Neuren v. Adduci,

Mastriani, Meeks & Schill, 43 F.3d 1507, 1514 (D.C. Cir. 1995) (quoting Pierce v.

Commonwealth Life Ins. Co., 40 F.3d 796, 802 (6th Cir. 1994)). Similarly situated in all relevant

respects means that Miller, the white employee identified by Plaintiff, was disciplined by the

same supervisor, was subject to the same standards and engaged in the same conduct without any

mitigating or distinguishing circumstances, and, in cases involving discipline, the similarity of

their offenses. See Burley v. Nat’l Passenger Rail Corp., 801 F.3d 290, 301 (D.C. Cir. 2015); see

also Fatemi v. White, 775 F.3d 1022, 1042 (8th Cir. 2015).

       First, Plaintiff’s assertion that he did not violate the Electronic Device Policy because he

did not “use” his cellphone is ludicrous especially after viewing the video of the incident.

       The Supreme Court has expressly held that where video evidence is available, if a
       nonmoving party at summary judgment adopts a position ‘blatantly contradicted by
       the record, so that no reasonable jury could believe it, a court should not adopt that
       version of the facts for purposes of summary judgment.’

White v. U.S., 863 F. Supp.2d 41, 48 (D.D.C. 2012) (quoting Scott v. Harris, 550 U.S.

372, 380-81 (2007)).

       Under Section 3.09 (a) of the policy, “using an electronic device means . . . using the

electronic device’s functions, such as, but not limited to, viewing, charging, using the electronic

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device to check the time, or to check to see if any messages have been received.” (Emphasis

added) (S.M.F. ¶ 5). Plaintiff read and understood the policy prior to his termination and

understood it was a “zero tolerance” policy. (Sims Dep. 34:5- 39:6, 67:16-21, Mar. 3, 2021).

       Video of the incident clearly shows Plaintiff using his cellphone in violation of the policy.

At the [5:39:50] mark, Laughery, in a white SUV with a Metro logo, can be seen driving on the

left side of the Metrobus operated by Plaintiff. At the same mark, the video shows Plaintiff

smoking a lit cigarette while driving the bus. (Dkt. 15-14: Camera Angle 6 of Video at [5:39:50]).

While Laughery’s vehicle is still seen pacing the Metrobus in order to continue his observations

of Plaintiff [5:39:56], Plaintiff reaches into his right pants pocket [5:39:59], takes out his personal

cellphone [5:40:01] and looks down at the lit cell phone for approximately 2 to 3 seconds.

[5:40:02 to 5:40:04]. While Laughery’s vehicle is still seen in the driver’s side window of the

Metrobus, Plaintiff looks down at his cellphone a second time at the [5:40:09] mark. The video

also shows Plaintiff still holding his cellphone in his right hand at [5:40:08] when he is observed

looking to the left directly at the white WMATA SUV driven by Laughery. It is at the [5:40:09]

mark of the video that Plaintiff places the cellphone between his legs. Regardless of his denials,

Plaintiff admits in his deposition that he was viewing the cellphone. (Sims Dep. 42:20-42:7).

       Plaintiff’s secondary argument is that if, assuming arguendo, he was using his cellphone

in violation of the Electronic Device Policy, his termination is discriminatory because a white

mechanic (Miller) was not subject to termination for violating another work rule that the Plaintiff

believes was equally egregious to his violation.

       On October 4, 2019, Bus Mechanic Brett Miller was operating a WMATA Metrobus that

hit a bollard at a hotel parking lot causing damage to the bus. (Dkt. 15-8: Miller Oct. 4, 2019

Investigation Report). Rather than report the accident immediately, Miller broke two WMATA
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work rules by failing to immediately contact the Bus Operations Control Center (“BOCC”) at the

time the accident occurred, and he gave an untruthful statement about how and where the accident

occurred. (Dkt. 15-8). Video of the incident confirmed that Miller was less than truthful about the

event. In lieu of termination, Miller was given a 20-day suspension with a final warning. (Dkt. 15-

8).

        In this case, Miller is not a proper comparator. While termination is a consideration for

breaking the above-mentioned WMATA work rules cited in the Miller investigation report, unlike

a violation of the Zero Tolerance Electronic Device Policy, supervisors are afforded a degree of

discretion when it comes to discipline. (Greenfield Dep. 56:12-60:14). Miller and the Plaintiff

violated two different rules. One, the Electronic Device Policy, is a zero tolerance rule that offers

no grace when operating a revenue vehicle, while the work rules violated by Miller do offer

discretion. The conduct of the two and the nature of the work rules violated are not similar;

therefore, discrimination cannot be inferred from comparing the two levels of misconduct.



        Plaintiff’s Tort Claims Should Be Dismissed Because WMATA is Immune from
        Allegations of Tortious Conduct Arising out of Its Discretionary Functions.

        Plaintiff’s wrongful termination claim (Count II) 1; and his two “negligent termination”

claims (Count III and IV) should be dismissed because WMATA enjoys sovereign immunity for

torts committed in the performance of its discretionary decision to terminate the Plaintiff from his

employment. Burkhart v. WMATA, 112 F.3d 1207, 1216 (D.C. Cir. 1997); Headen v. WMATA,



1
 Even if WMATA’s sovereign immunity did not apply, Plaintiff’s wrongful termination in violation of public policy
claim would fail because the District of Columbia only recognizes such a cause of action in only one exception —
where the sole reason for the discharge is the employee’s refusal to violate the law as expressed in a statute or
municipal regulation. Hoskins v. Howard University, 839 F. Supp. 2d 268, 281 (D.D.C. 2012).

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741 F. Supp.2d 289, 295-96 (D.D.C. 2010) (former employee’s defamation, wrongful termination

and intentional infliction of emotional distress claims are subject to WMATA’s sovereign

immunity for tort claims because they arise out of personnel decisions).

       Section 80 of the WMATA Compact states:

       The Authority shall be liable for its contracts and for its torts and those of its
       Directors, officers, employees and agent committed in the conduct of any
       proprietary function . . . but shall not be liable for any torts occurring in the
       performance of a governmental function. The exclusive remedy for such breach
       of contracts and torts for which the Authority shall be liable, as herein provided,
       shall be by suit against the Authority.

       See D.C. CODE ANN. § 9-1107.01 (80) (2015). (Emphasis added).

       Plaintiff’s tort allegations arise out of WMATA’s investigation of his violation of the

Electronic Device Policy. WMATA’s personnel decisions, which are considered discretionary

decisions, are shielded by sovereign immunity. It follows, therefore, that any torts alleged to have

arisen out of WMATA’s discretionary decision to terminate Plaintiff’s employment are logically

barred from suit by WMATA’s immunity. See D.C. CODE ANN. §9-1107.01 (80) (2015); Beebe v.

WMATA, 129 F.3d 1283, 1287 (D.C. Cir. 1997) (Tort claims arising out of WMATA’s

employment decisions are shielded by WMATA’s immunity). Therefore, Plaintiff’s tort

allegations should also be dismissed.

       For the forgoing reasons, WMATA respectfully requests that the Court dismiss this case,

with prejudice.




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                                  Respectfully submitted,

                                  WASHINGTON METROPOLITAN
                                  AREA TRANSIT AUTHORITY



                                  /s/ Michael K. Guss
                                  Michael K. Guss #465171
                                  Senior Counsel
                                  WMATA-COUN
                                  600 Fifth Street, N.W.
                                  Washington, D.C. 20001
                                  (202) 962-1468




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                        Plaintiff,         :
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       v.                                  : Case No. 1:20-cv-01243- (CJN)
                                           :
                                           :
WASHINGTON METROPOLITAN                    :
AREA TRANSIT AUTHORITY                     :
                                           :
                  Defendant.               :
________________________________           :

                                           ORDER

       UPON CONSIDERATION of Defendant WMATA’s Motion for Summary Judgment, and

the entire record of the case, it is this ________________ day of ________________________,

2022; ORDERED, that the motion is GRANTED, and the case is dismissed with prejudice for the

reasons stated in the Defendant’s motion and supporting memoranda of points and authorities.

This is a Final Order



                                                    __________________________
                                                    Judge Carl J. Nichols
Copies to:

Michael K. Guss
Senior Counsel
WMATA-COUN
600 Fifth Street, NW
Washington, D.C. 20001

Charles Tucker
Tucker Moore Group, LLP
8181 Professional Place, Suite 117
Hyattsville, MD. 20785
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